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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

____________________________________
PROJECT ON GOVERNMENT                )
OVERSIGHT, INC.                      )
                                     )
      Plaintiff,                     )
                                     )
      v.                             )         Civil Action No. 25-527 (JEB)
                                     )
DONALD J. TRUMP,          et al.,    )
              Defendants.            )
____________________________________)

              REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       A PRELIMINARY INJUNCTION
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DONALD J. TRUMP, et al.,             )
              Defendants.            )
____________________________________)

                                       INTRODUCTION
       Defendants’ opposition to the requested preliminary injunction rests on

mischaracterizations of Plaintiff’s claims and a refusal to acknowledge the consequences of their

own actions. Most significantly, Defendants admit they have neither complied with nor

implemented the requirements of the Federal Records Act (“FRA”). Nevertheless, Defendants

insist Plaintiff lacks standing to challenge their actions under the FRA and the Administrative

Procedure Act (“APA”) because Plaintiff has not filed a Freedom of Information Act (“FOIA”)

request with DOGE.1 The futility of such an action, however, could not be more apparent. As

DOGE readily admits it has no system in place to receive and process FOIA requests. Indeed, for

that precise reason DOGE refused to accept and process a FOIA request POGO filed recently

with DOGE.2 But even without a pending FOIA request, POGO would still have standing based

on its demonstrated and continuing interest in DOGE, as reflected in articles written and



1
  DOGE refers collectively to Defendants the U.S. Department of Government Efficiency
(“DOGE”), the U.S. DOGE Service (“USDS”), and the U.S. DOGE Service Temporary
Organization (“USDSTO”).
2
  On April 8, 2025, Plaintiff Project On Government Oversight, Inc. (“POGO”) filed a FOIA
request with the USDS and OMB seeking communications between specified individuals
containing specified terms. See Exhibit A.
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published by POGO journalists and the congressional testimony of a POGO employee about

DOGE. Having established its imminent and non-speculative interest in the records of DOGE,

Plaintiff has demonstrated the informational harm it suffers because DOGE refuses to comply

with the FRA’s creation and preservation requirements, which afford Plaintiff access to DOGE

documents pursuant to the FOIA.

       DOGE’s challenges to the merits of Plaintiff’s claims also fail as they rely on

mischaracterizations of those claims and a refusal to address the growing body of evidence that

DOGE exercises substantial independent authority. Further, far from the broad programmatic

attack that Defendants allege, Plaintiff’s claims flow from the failure of DOGE to perform

discrete, non-discretionary actions imposed by the FRA, including the implementation of a

recordkeeping policy. As to DOGE’s agency status under the FRA (and consequently the FOIA),

Defendants discount the substantial evidence of DOGE’s power and authority as inadmissible

hearsay. Yet they offer nothing to refute that evidence, relying instead on a series of executive

orders that—even if relevant—ignore how DOGE in fact functions.

       With its actions DOGE has demonstrated an almost unparalleled penchant for secrecy,

seeking to shield its actions from judicial review and public accountability. Its titular head Elon

Musk is “operating with a level of autonomy that almost no one can control.” Jonathan Swan,

Theodore Schleifer, Maggie Haberman, Kate Conger, Ryan Mac & Madeleine Ngo, “Inside

Musk’s Aggressive Incursion Into the Federal Government,” New York Times, Feb. 4, 2025,

https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html. DOGE has

launched stealth attacks on agencies, draining their databases for undescribed purposes.

Hundreds of thousands of federal employees and government contractors across 27 federal

agencies have lost their jobs because of DOGE’s actions. See Sara Dorn, “Trump’s Great




                                                 2
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Rehiring: Over 26,000 Fired By DOGE Likely To Return – So Far,” Forbes, Apr. 4, 2025,

https://www.forbes.com/sites/saradorn/2025/04/04/trumps-great-rehiring-over-26000-fired-by-

doge-likely-to-return-so-far/. Perniciously, DOGE has sought to hide its actions by taking control

of agency communication systems and communicating with ephemeral message apps designed to

ensure no record of the communication is preserved. And most fundamentally here, it has

flaunted its self-proclaimed authority to avoid any judicial scrutiny for whether and how it

implements the FRA’s document creation and preservation requirements. In these circumstances,

the requested preliminary injunction is critical to ensure all of DOGE’s records are preserved

before DOGE places them forever beyond the reach of the Plaintiff, this Court, and the public.

                                  SUPPLEMENTAL FACTS

       On April 8, 2025, POGO submitted a FOIA request to USDS and OMB (Exhibit A). The

request sought all email communications, text messages, and messages sent on messaging

platforms from January 20, 2025, to the present to or from 34 individuals identified by name and

email address and containing one or more of 17 listed search terms. POGO also requested

expedited processing, explaining the significant public and press interest in DOGE “stem[ming]

significantly from how Elon Musk’s businesses are impacted by federal government operations,

and Musk and DOGE’s efforts inside the federal government.” Id. POGO further elaborated:

       Musk and DOGE have, according to numerous press accounts, fed federal data into
       artificial intelligence (AI) systems for analysis and to look for ways to replace federal
       workers with AI. Yet Musk is the owner of xAI (which recently acquired another Musk
       company, X, formerly Twitter), which is an artificial intelligence company. Musk also
       appeared at a White House event promoting vehicles by his company, Tesla. [] Musk’s
       SpaceX widely does business with the federal government, including the Defense
       Department and NASA, and – during his time as a special government employee – Musk
       publicly advocated that the Federal Aviation Administration turn over a $2.4 billion
       contract from Verizon to SpaceX.

Id.




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       By email dated April 14, 2025, DOGE advised POGO that because, in its view, DOGE is

subject to the Presidential Records Act (“PRA”), it was “declin[ing]” POGO’s request. See

Exhibit B.

                                            ARGUMENT

       I.      Plaintiff Has Standing To Bring This Lawsuit.
       DOGE’s argument that Plaintiff lacks standing rests entirely on Plaintiff’s failure to file a

FOIA request with DOGE. According to DOGE, the pendency of a FOIA request constitutes an

essential element “to raise any FRA-related claim” because absent a request Plaintiff cannot

“establish an injury in fact[.]” Ds’ Mem. in Opp. at 12. Defendants’ arguments, however,

overlook POGO’s demonstrated and continuing interest in how DOGE operates and the legality

of its actions—issues that depend crucially on access to DOGE’s records.

       First, five critical assessments of DOGE that POGO journalists have published

demonstrate POGO’s deep and ongoing interest in DOGE and its need for access to DOGE’s

records. On February 6, 2025, POGO published an article about the vetting and ethics concerns

Musk’s DOGE teams raise. Nick Schwellenbach, “Elon Musk’s DOGE Teams Raise Vetting,

Ethics Concerns,” POGO.org, Feb. 6, 2025, https://www.pogo.org/investigations/elon-musks-

doge-teams-raise-vetting-ethics-concerns. The article pointed out, among other things, that an

employee of X and SpaceX serves on the DOGE team—and details the employee posted on X

but since deleted. Id. As the article explains, these kind of conflicts of interest not only raise

concerns about Musk’s access to sensitive information “that could advantage his companies and

disadvantage rivals,” but also implicate “Musk’s significant business operations in China[.]” Id.

Further, the article notes that while Musk-affiliated employees “have fanned out across the

federal government,” [t]he names of staff on DOGE teams across the government have not been

proactively released.” Id.


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       POGO published a second DOGE-related article on February 18, 2025. See Nick

Schwellenbach, “DOD Contractor Hires Trump-Aligned Lobbyists to Tackle DOGE,”

POGO.org, Feb. 18, 2025, https://www.pogo.org/investigations/dod-contractor-hires-trump-

aligned-lobbyists-to-tackle-doge. This article explores the new opportunities for lobbyists that

DOGE poses, and how DOGE’s efforts to shrink the federal workforce intersect with

cybersecurity contracts. Lobbyists will play a critical role in “figure[ing] out the DOGE

environment,” including the defense of “federal contracts from possible DOGE intervention” or

“mak[ing] the case for expanding them.” Id.

       On March 7, 2025, POGO published a third DOGE-related article. See Nick

Schwellenbach, “Musk’s Deep Financial Ties to Top Feds Revealed,” POGO.org, Mar. 7, 2025,

https://www.pogo.org/investigations/musks-deep-financial-ties-to-top-feds-revealed. This article

explains the deeper than previously known ties that senior Office of Personnel Management

(OPM) political appointees have to Elon Musk’s businesses. The article discusses the access

DOGE and Musk have to data at OPM and other agencies that intersects with Musk’s business

interests such as xAI. One of those officials “is the point of contact for OPM’s government-wide

email system”—the very system “believed to have been used ‘to issue [the Trump

administration’s] deferred resignation offers and the emails demanding all federal employees

respond with five bullet points of accomplishments or face termination.’” Id.

       On April 2, 2025, POGO published another analysis of DOGE. Faith Williams, “What is

wrong with DOGE: Its Structure, for One,” POGO.org, Apr. 2, 2025,

https://www.pogo.org/analysis/whats-wrong-with-doge-its-structure-for-one. This article

discusses how “DOGE’s reach and power have steadily expanded, even as its organization and

its mission have remained hazy.” Id. The article notes that when it wants to, DOGE operates like




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an agency. Specifically, DOGE has been involved “in firing thousands of federal employees,

canceling contracts, and physically shuttering federal office buildings.” Id. As the article

explains, “[t]he difficulty defining DOGE is not an accident, but rather seemingly opacity-by-

design that helps block its personnel and actions from judicial review, congressional oversight,

and public accountability.” Id. The article further explains the difficulty in pinning down DOGE

leadership and staffing noting, among other things, the discrepancies in how the administration

has described Musk’s role at DOGE. Id.

       Finally, on April 22, 2025, POGO published an analysis highlighting conflicts of interest

related to Musk and DOGE officials. Faith Williams, “What’s Wrong With DOGE? Its Glarig

Conflicts of Interest,” POGO.org, Apr. 22, 2025, https://www.pogo.org/analysis/whats-wrong-

with-doge-its-glaring-conflicts-of-interest. The article further explains how Musk’s role at

DOGE allows his companies to avoid oversight from federal agencies.

       Second, POGO’s Director of Government Affairs Dylan Hedtler-Gaudette testified at the

first DOGE-related hearing before the House Committee on Oversight and Government Reform

Subcommittee on Delivering on Government Efficiency on February 12, 2025,

https://www.pogo.org/testimonies/pogo-calls-for-focus-on-real-reforms-to-improve-federal-

spending-accountability-and-transparency, further evidencing POGO’s deep and continuing

interest in DOGE’s functions, leadership, and actions. Mr. Hedtler-Gaudette’s written testimony

included an assessment of DOGE’s efficacy in providing a check against waste, fraud, and abuse

as well as of Musk’s “massive conflicts of interest [his] financial ties present[.]” Id. at 9.3




3
 Mr. Hedtler-Gaudette’s testimony clearly struck a nerve as he was mocked and ridiculed
afterwards “by conservatives on social media and right-wing cable news,” Justin, Baragona,
“MAGA cruelly mocks DOGE committee hearing witness because he’s blind,” Independent,



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       Third, POGO has a visible media presence on DOGE and DOGE-related issues. POGO’s

President and Executive Director Danielle Brian and others at POGO routinely offer expert

commentary on DOGE activities. For example, Ms. Brian commented on how DOGE’s impacts

on contractors have mainly affected “the equivalent of the mom-and-pop shops,” Emily Badger,

Aatish Bhatia, Josh Katz, Margot Sanger-Katz & Ethan Singer, “The Big Government Contracts

DOGE Hasn’t Touched,” New York Times, Mar. 4, 2025, https://www.nytimes.com/interactive/

2025/03/04/upshot/doge-musk-contracts-cuts.html. One POGO post on X.com highlighted a New

York Times article on how DOGE made it harder to check its claims, with POGO remarking

“DOGE has started providing fewer details on the cuts it's making to the federal government.

These kinds of attempts to hide information from the public are why we're suing DOGE to

demand that it complies with federal record laws,” https://x.com/POGOwatchdog/status/

1900295302826860649.

       Taken as a whole, this evidence demonstrates POGO’s concrete, substantive, and

ongoing need for records of DOGE that would be severely harmed absent the requested

injunction requiring DOGE to create, maintain and preserve its records under the FRA.

       The cases on which Defendants rely provide no persuasive authority to the contrary under

these circumstances. For example, in CREW v. Dep’t of Homeland Sec., cited in Ds’ Mem. in

Opp. at 11, the court concluded the plaintiff lacked standing because the court was unable to

“discern when, if ever, CREW will seek access to [] records in the DHS’s possession.” 527 F.

Supp. 2d 101, 106 (D.D.C. 2007). Here, by contrast, POGO’s demonstrated and ongoing interest,




Feb. 13, 2025, https://www.the-independent.com/news/world/americas/us-politics/doge-hearing-
blind-witness-online-response-b2697878.html, including Elon Musk on X.com.



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reflected in part in its pending FOIA request with DOGE, provides clear evidence that its efforts

to access DOGE records are particularized and imminent and more than a mere plausibility.

       Indeed, POGO stands in similar shoes as one of the plaintiffs in CREW v. Cheney, 593 F.

Supp. 2d 194, 226-27 (D.D.C. 2009), whose assertions about his past extensive use of

presidential records—the records at issue in that case—and his “unambiguous” intent to review

records on a specified topic in the future were sufficient to establish his standing to challenge the

threatened removal of vice presidential records. As the court reasoned, “[t]here is . . . no question

that the destruction of PRA records would cause [plaintiff] injury when he seeks to use them in

the future.” Id. at 227. Likewise, here, POGO’s extensive use of the FOIA for its journalistic

endeavors to uncover government waste, fraud, and abuse; its demonstrated focus on these issues

as they relate to DOGE; its unambiguous intent to file additional FOIA requests for DOGE

records in the future should DOGE implement a FOIA regime, see Declaration of Brandon

Brockmyer ¶ 10 (Exhibit C) (attesting to POGO’s intent “to file additional FOIA requests with

DOGE in the future, seeking records that will shed light on areas of great public interest and

concern including conflicts of interest with respect to certain programs or contracts, the

independent authority exercised by DOGE team members, and communications with entities

outside the federal government”); and its “strong operational interest in Defendant’s compliance

with their recordkeeping obligations under the FOIA,” CREW v. Dep’t of Homeland Sec., 2024

U.S. Dist. LEXIS 47949, *13 (D.D.C. Mar. 19, 2024) (cleaned up), support its standing to sue to

prevent an injury that is “sufficiently concrete and imminent.” Id. See also CREW v. Exec. Office

of the President, 587 F. Supp. 2d 48 (D.D.C. 2008) (cited in Ds’ Mem. in Opp. at 10-11)

(Plaintiff had standing under the FRA where its researchers “function as journalists” who obtain

records under the FOIA to disseminate information to the public). 587 F. Supp. 2d at 60. These




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facts establish that Plaintiff has suffered an informational injury that supports its standing to sue.

See FEC v. Akins, 524 U.S. 11, 21 (1989) (“inability to obtain information . . . constitutes injury

in fact for standing purposes”).

          Moreover, while Plaintiff admittedly did not have an outstanding FOIA request when it

filed the complaint (although it does now), even had it submitted a request to DOGE prior to

suing, POGO would be in the same posture as now. That is because DOGE has absolutely no

FOIA regime in place, eschewing the applicability of the FRA and the FOIA. In arguing against

a preliminary injunction in CREW v. DOGE, DOGE Administrator Amy Gleason admitted:

           If USDS is required to comply with the court’s order, it will have to set up a new FOIA
           operation from scratch within USDS. Because USDS is an Executive Office of the
           President component that reports to the White House Chief of Staff and advises the
           President, it has adopted no FOIA regulations, hired no document processors or
           reviewers, and has no dedicated budget for these activities.

Gleason Decl. ¶ 28 (Ex. A to Pl.’s Mem. for PI, ECF No. 11-2) (emphasis added). See also

Exhibit B. With no FOIA regulations in place, no money to support a FOIA regime, and no

personnel to process FOIA requests DOGE is and was utterly unequipped to handle any FOIA

request. Given its refusal to adopt a FOIA regime, DOGE cannot reasonably fault POGO for

failing to file a FOIA request with the agency, something that would have been an exercise in

completely futility. These facts make this case unique and different from all the cases on which

Defendants rely to argue POGO lacks standing. That difference yields a critically different

result.

          II.    Plaintiff Will Suffer Irreparable Harm Absent The Requested Injunction.
           Defendants’ refusal to comply with the FRA’s recordkeeping obligations poses a grave

risk that DOGE records will not be preserved, depriving Plaintiff, the public, and Congress of

the ability to hold DOGE accountable for its actions. Defendants’ argument that Plaintiff has




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not established irreparable harm rests principally on its flawed argument that POGO lacks

standing to sue. See Ds’ Mem. in Opp. at 12-13. As discussed supra, that is false.

           Moreover, the facts supporting Plaintiff’s standing are a far cry from the hypothetical

claims courts have rejected. Plaintiff has demonstrated a deep interest in specific issues related

to DOGE, including conflicts of interest and vetting issues. POGO has attested to its intent to

file requests with DOGE in the future (assuming DOGE adopts a FOIA regime), Brockmyer

Decl. ¶ 10, and recently filed a FOIA request with DOGE and OMB seeking records that would

expand on POGO’s knowledge about the links between Musk’s personal and commercial

interests and his role in implementing the DOGE agenda (see Exhibit A). The FOIA request is

written with great particularity and illustrates the concrete interest POGO has in DOGE’s

records.

           DOGE also argues that POGO will suffer no harm because “USDS adheres to the

PRA.” Ds’ Mem. in Opp. at 13. To bolster that point DOGE has offered as an exhibit the PRA

recordkeeping policy Defendants claim is currently in place (Ex. D to Ds’ Mem. in Opp.). That

policy, however, is dated March 25, 2025, and Defendants have provided no information about

any prior policy or practice in place before that date. All this suggests DOGE very belatedly

issued a records policy to backfill a clear gap in its records management.

           Moreover, conspicuously absent from the record is any evidence that DOGE

employees are knowledgeable about and complying with this or any other recordkeeping policy.

The only evidence DOGE has proffered is the one-page PRA recordkeeping policy in effect for

mere weeks and a citation to Ms. Gleason’s declaration, signed before DOGE’s PRA

recordkeeping policy was even in effect and submitted in another case. Ms. Gleason offers only

two tepid assurances. First, she avers that “[i]n accordance with the PRA’s requirements, USDS




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materials will be transmitted to the National Archives and Records Administration at the

appropriate time.” Gleason Decl. ¶ 25. Second, Ms. Gleason avers that “USDS has informed its

employees (including those in the U.S. DOGE Service Temporary Organization) that they must

adhere to records-preservation requirements.” Id. ¶ 26. But given that she executed her

declaration on March 14, 2025, prior to DOGE’s adoption of a PRA recordkeeping policy, her

vague reference to DOGE employees being informed in some unidentified way that they must

adhere to some unidentified records preservation requirements hardly provides the kind of

assurance that would negate the need for a document preservation order here.

       That need is further underscored by the differences between “what qualifies as a record

and the respective retention obligations” under the FOIA and PRA. Am. Oversight v. U.S. Dep’t

of Gov’t Efficiency, No. 25-cv-409 (D.D.C. Apr. 2, 2025), Minute Order. Those differences

coupled with DOGE’s refusal to acknowledge its preservation obligations under the FRA led

Judge Beryl A. Howell to issue a preservation order, id., a course this Court should follow for

identical reasos. Defendants dismiss this language as lacking an explanation for “why any such

difference would be significant based on the FOIA requests at issue.” Ds’ Mem. Op. at 23 n.7.

Here, however, Plaintiff seeks a preservation order that would encompass all of DOGE’s records,

not merely those responsive to a specific FOIA request. In this context, the differences in scope

between the PRA and FRA matter. Tellingly, Defendants offer no argument that the FRA and

PRA impose identical obligations, instead stressing that they are ‘two separate records

regimes[.]” Ds’ Mem. in Opp. at 3.

        Simply stated, the mere existence of a recordkeeping policy standing alone—

particularly one formulated under the PRA, not the FRA, which controls here— fails to

establish that DOGE employees are in fact complying with that policy. Nor does it counter the




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evidence Plaintiff has offered that DOGE records are at risk of destruction because of the

actions of DOGE employees. As outlined in Plaintiff’s memorandum in support of its motion

for a preliminary injunction at pages 17-19, the secrecy in which DOGE operates and its

reported use of messaging apps that are designed to erase messages after a specified time

provide strong evidence that DOGE’s records are at risk. And that risk continues. See, e.g.,

Alexandra Ulmer, Marisa Taylor, Jeffrey Dastin & Alexandra Alper, “Exclusive: Musk’s

DOGE using AI to snoop on U.S. federal workers, sources say,” Reuters, Apr. 8, 2025,

https://www.reuters.com/technology/artificial-intelligence/musks-doge-using-ai-snoop-us-

federal-workers-sources-say-2025-04-080/ (noting DOGE team’s use of Signal to

communicate). Nearly from its inception DOGE employees were counseled to avoid using a

messaging app that could capture messages for accessibility under the FOIA. See Jason Koebler

& Joseph Cox, “DOGE Employees Ordered to Stop Using Slack While Agency Transitions to a

Records System Not Subject to FOIA, 404media, Feb. 5, 2025, https://www.404media.co/doge-

employees-ordered-to-stop-using-slack-while-agency-transitions-to-a-records-system-not-

subject-to-foia/. Further, the fact that DOGE employees include political appointees whose

government tenure is uncertain heightens the risk that DOGE records will not be properly

preserved. See Competitive Enter. Inst. v. Off. of Science & Tech. Policy, No. 14-cv-765, 2016

WL 106776292, at *3 (D.D.C. Dec. 12, 2016). At bottom, the absence of countervailing

evidence speaks volumes about the palpable risk of records being destroyed, whether by design

or accident, absent the requested preliminary injunction.

        Defendants further suggest a preservation order is unwarranted absent “good reason to

believe records [are] on the verge of being destroyed.” Ds’ Mem. in Opp. at 14. To the contrary,

courts have readily entered preservation orders without evidence of imminent destruction. For




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example, in CREW v. U.S. DOGE Serv., No. 25-cv-511 (CRC), 2025 U.S. Dist. LEXIS 42869,

*54 (D.D.C. Mar. 20, 2025), Judge Cooper reasoned that because DOGE has operated in

“unusual secrecy,” id. *54, refusing to publicly acknowledge Musk’s precise role at DOGE, and

labelling the publication of names of USDS employees “a crime.” id., there was a “possibility

that representative of the Defendant entities may not fully appreciate their obligations to

preserve federal records.” Id. *54-55. Further, newly hired DOGE employees “to put it

charitably, may not be steeped in [DOGE’s] document retention policies.” Id. *55. Judge

Cooper accordingly issued a preservation order to prevent the possible destruction of DOGE

records.

           Similarly, in Competitive Enter. Inst. v. Off. of Science & Tech. Policy, No. 14-cv-765,

2016 WL 106776292 (D.D.C. Dec. 12, 2016), cited in Ds’ Mem. in Opp. at 14, the court

entered a preservation order notwithstanding the recordholder’s attestation that he would

preserve the records at issue pending the court’s merits decision. The Court noted it “has no

reason to doubt the sincerity of [the recordholder’s] declaration that he will not delete any of his

emails[.]” 2016 WL 106776292, *3. Nevertheless, the court entered the requested preservation

order, reasoning “a declaration does not have the force of an order.” Id. See also Am. Oversight

v. U.S. Dep’t of Gov’t Efficiency, No. 25-cv-409 (D.D.C. Apr. 2, 2025), Minute Order (“while

the Court presumes that executive officials . . . act in good faith, absent a court order punishable

by contempt requiring the maintenance and preservation of potentially responsive records,

plaintiff would have no recourse were the records at issue not maintained and preserved

pursuant only to a litigation hold letter”) (cleaned up).

           In arguing to the contrary, Defendants rely on Judicial Watch, Inc. v. DOJ, No. 18-cv-

154 (RBW), 2018 WL 11457399, (D.D.C. Nov. 13, 2018). See Ds’ Mem. in Opp. at 15. In that




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case, however, the court refused to enter a preservation order based on two factors not present

here. First, the National Archives and Records Administration had already conducted an

investigation of the deleted emails at issue and concluded no records were lost or removed,

thereby eliminating the need for a preservation order. Second, the court pointed to the sworn

declarations of the two individuals whose emails were at issue, in which they testified they were

complying with their preservation obligations. No such evidence exists here.

         Finally, Defendants challenge the nature of Plaintiff’s claims as insufficient to warrant

an injunction because Plaintiff simply wants Defendants to “follow the law.” Ds’ Mem. in Opp.

at 15-16. To the contrary, with the requested relief Plaintiff seeks to compel Defendants under

the APA to perform the discrete, nondiscretionary actions that the FRA imposes on them,

including the adoption and implementation of a recordkeeping policy under the FRA (not the

PRA) and the creation, maintenance and preservation of records pursuant to that policy. This is

a far cry from the relief at issue in Norton v. SUWA, 542 U.S. 55, 66 (2004) (cited in Ds’ Mem.

in Opp. at 16), where the plaintiff was seeking relief that asked the court to oversee “general

deficiencies in compliance.” Id. Unlike Norton, Plaintiff here has not asked this Court to dictate

the contents of DOGE’s recordkeeping policy or to take specified actions to compel agency

compliance with that policy—actions more akin to those the Norton court found could not

justify an injunction. Instead, Plaintiff merely seeks to compel DOGE to adopt and implement a

recordkeeping policy under the FRA. As such, the requested relief “sufficiently specif[ies] the

activities enjoined as to provide Defendants with fair notice of the prohibited conduct,” rather

than “abstractly enjoin[ing] Defendants from violating” the FRA. United States v. Philip Morris

USA, Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009) (cited in Ds’ Opp. Mem. at 16).




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       III.    Plaintiff’s Claims Are Cognizable Under The FRA And PRA.

         On the merits, Defendants argue Plaintiff cannot succeed because Plaintiff’s claims are

not cognizable under either the FRA or the PRA. Ds’ Mem. in Opp. at 17-18. Reduced to its

essence, Defendants’ argument means an agency like DOGE can disavow all its statutorily

imposed obligations with no consequences. No caselaw supports the extreme position

Defendants implicitly advance here.

         Specifically, Defendants argue that Plaintiff’s claims are barred because Plaintiff has

not presented a challenge to “a specific recordkeeping guideline or directive as somehow

inadequate under the . . . FRA,” Ds’ Mem. in Opp. at 17. While generally true (see infra), this is

because Defendants have opted out entirely of an FRA recordkeeping system, disclaiming its

applicability in the first place, and therefore have no specific guideline or directive in place

under the FRA. As courts have recognized, where, as here, an agency ignores entirely its

statutory obligations the court has a role to play—any other conclusion would leave DOGE free

to flout its mandatory recordkeeping obligations free from any consequences whatsoever.

         For example, in Am. First Legal Found v. Becerra, 2024 U.S. Dist. LEXIS 151534

(D.D.C. Aug. 9, 2024), the court considered a challenge under the FRA to the practice of the

CDC to delete the emails of its former employees. The court relied in part, on precedent in

Armstrong v. Bush, 924 F.2d 282, 293-94 (D.C. Cir. 1991), that courts may hear an APA-based

challenge under the FRA claiming “that an agency failed to employ adequate recordkeeping

guidelines and directives[.]” 2024 U.S. Dist. LEXIS 151534, *34 (cleaned up). This precedent

supported judicial review of a challenge to an agency’s compliance “with whatever on-public

recordkeeping policy the agency chose to adopt in its stead.” Id. at *36. Here, too, this

precedent recognizes this Court’s ability to review Plaintiff’s challenge to the DOGE-wide




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policy to treat its records as presidential and therefore in violation of the FRA.

         Nor does the lack of formality in DOGE’s recordkeeping policies and practices render

them non-reviewable. To the contrary, courts may review “policies and practices” that “may be

informal, rather than articulated in regulations or an official statement of policy.” CREW v.

Pompeo, 2020 U.S. Dist. LEXIS 59038, *11 (D.D.C. Apr. 3, 2020) (cleaned up). As this Court

recognized, courts lack the authority to “address individual acts of noncompliance,” but “can

review an APA claim challenging an agency’s informal policy of practice of violating certain

directives of the FRA, including the Act’s records-creation and -destruction mandates[.]” Id. at

*12 (cleaned up). See also CREW v. Pruitt, 319 F. Supp. 3d 252, 260 (D.D.C. 2018)

(recognizing court’s authority to review a claim that an agency’s “recordkeeping policy does

not conform to the FRA[.]”). As this authority makes clear, Defendants have it backwards.

Courts possess the authority to review broad claims that agency policies fail to conform with the

FRA’s requirements, even informal, unpublished policies like those challenged here, but lack

authority to review “individual acts of noncompliance.” CREW v. Pompeo, 2020 U.S. Dist.

LEXIS 59038, *12.

         Further, judicial review here would not require the court to issue “broad, programmatic

relief” that would require undertaking “an ongoing oversight role[.]” Id. at 18. Instead, Plaintiff

has asked the Court to “compel[] Defendants to comply with their statutory duties to treat

the records of DOGE, USDS and USDSTO as agency records subject to the FRA and the

FOIA.” Compl. ¶ 64. This is achieved through the discrete action of adopting and

implementing a recordkeeping policy under the FRA, no less and no more.

         Plaintiff has also challenged the specific policies and practices of Defendants to

treat DOGE’s records as subject to the Presidential Records Act (“PRA”). See Compl. ¶ 55.

This claim falls within the exception to the PRA’s bar on judicial review that the D.C.


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Circuit recognized in Armstrong v. Exec. Office of the President, 1 F.3d 1274, 1293 (D.C.

Cir. 1993), for “guidelines that purport to implement the PRA.” As the D.C. Circuit

reasoned, without judicial review, guidelines that did not comply with the PRA’s definition

of presidential records would shield from review records improperly managed as

presidential records. Such a result conflicts with the PRA’s express exclusion of agency

records from the definition of presidential records and would remove those records from

the reach of the FOIA. Id. at 1292. The court considered the “clear limitation on just which

materials the President could legitimately assert control over” and Congress’ intent “to

preserve the pre-existing body of FOIA law governing the disclosure of government

agency records.” Id. Accordingly, guidelines that treat agency records as presidential

materials are subject to judicial review.

        Here, that means the formal recordkeeping policy DOGE has just adopted and

Defendants’ prior expressed intent to control DOGE records by treating them as

presidential records are subject to this Court’s review. As part of that review, the Court

must give full force to the PRA’s definition of presidential records and its exclusion of

agency records, because “the FOIA trumps the definition of ‘agency’ records in the PRA.”

Id. Thus, Plaintiff raises a clearly permissible challenge under the PRA that is subject to

this Court’s review.

       IV.     Because DOGE Exercises Substantial Independent Authority It Is An
               Agency Subject To The FRA.
        To date, multiple courts have concluded that DOGE is an agency because it exercises

substantial independent authority, the touchstone for determining agency status of those entities

housed within the Executive Office of the President, among others. In reaching this conclusion

those courts have pointed to the myriad independent actions DOGE has taken as catalogued in

numerous press reports and its governing executive order charging DOGE with implementing


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the President’s DOGE agenda. As summarized by Judge Cooper in a recent order denying

DOGE’s motion for reconsideration, DOGE “has reportedly led the charge on personnel cuts

across federal agencies; eliminated government contracts, and sent teams of employees to

federal agencies to gain access to sensitive and classified data.” CREW v. USDS, No. 25-cv-511,

Opinion and Order, March 19, 2025 (ECF No. 23). Neither here nor in any other case have

Defendants proffered any evidence to undermine these conclusions beyond labelling the news

reports as inadmissible hearsay and pointing to a number of other executive orders that mention

DOGE. As Judge Cooper pointed out, however, DOGE’s decision to “deliberately . . . forego” a

“host of arguments” as to why it is not an agency was a “litigation choice[.]” Id. Apparently

DOGE has made that same litigation choice here, leading to the conclusion it has nothing

substantive to rebut the evidence of its substantial independent authority.

         At the same time, stories mount about the substantial independent authority DOGE

continues to wield. For example, a March 3, 2025 press report explains DOGE’s role in

deactivating thousands of credit cards issued to government agencies and individuals. See Kate

Knibbs & Aarian Marshall, “Elon Musk’s $1 Spending Limit Is Paralyzing Federal Agencies,”

Wired, Mar. 3, 2025, https://www.wired.com/story/doge-elon-musk-spending-cuts-federal-

workers/. The results have been near catastrophic, threatening mission-critical projects across

the government. While nominally done in the interest of preventing fraud, federal employees

note that “[t]here are so many controls in place to make sure fraud doesn’t happen[.]” Id.

         In labelling the numerous and growing press reports of DOGE’s substantive actions as

mere hearsay, Defendants ask this Court to turn a blind eye to the reality of what is playing out

throughout the federal government. According to Defendants, this Court should ignore that

DOGE is leading the charge to eliminate entire agencies, that DOGE has directed the layoffs of




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hundreds of thousands of federal employees and government contractors across 27 agencies, see

Dorn, Forbes, Apr. 4, 2025; that DOGE is directing the collection of a vast swath of sensitive

data across the government for unexplained reasons; and that DOGE has emerged as the most

powerful entity in President Donald Trump’s administration all because these actions have been

reported in the press. But the fact that only the press has been able to pierce the veil of secrecy

surrounding DOGE heightens, not detracts from, the utility of its reporting. At a minimum, the

reality of how DOGE operates raises a factual question of its agency status that can be resolved

only through discovery. See CREW v. USDS, No. 25-cv-511, Opinion and Order, March 19,

2025, at 12.

      In lieu of evidence demonstrating how DOGE actually functions, Defendants point to a

number of executive orders and presidential memoranda charging OMB with consulting,

coordinating, and advising together with DOGE and other entities on various issues. Defendants

argue these orders and memoranda constitute “[t]he full extent of USDS’s authority to date[.]”

Ds’ Mem. in Opp. at 23. But while these presidential EOs and memoranda outline DOGE’s

responsibilities, among those of other agencies, none involves advice and assistance to the

president. Instead, they focus on OMB—an agency subject to the FRA and FOIA—and its role

in working with DOGE, not on DOGE itself. But even on their own terms many illustrate how

DOGE has been given a substantive role such as the “initiat[ion] of a software modernization

initiative.” Ds’ Mem. in Opp. at 23.

         Further, Defendants overlook the most applicable executive order—Executive Order

14158—which created DOGE and charged it with “implement[ing] the President’s DOGE

agenda[.]” (emphasis added). Defendants dismiss this language as nothing more than an

“abstract notion,” Ds’ Mem. in Opp. at 24, but it is no more abstract than the language of the




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other orders on which Defendants rely. Moreover, as the D.C. Circuit has recognized, “the more

general the goal” set by a president for an entity within the EOP “the greater the likelihood that

the responsible entity is vested with some element of discretion and is not just advising or

assisting the President.” Armstrong v. Exec. Office of the President, 90 F.3d 553, 565 (D.C. Cir.

1996). In charging DOGE with the broad goal of implementing his DOGE agenda President

Trump clearly vested DOGE with substantial discretion. That charge as memorialized in EO

14158, when coupled with the actual actions of DOGE, amply supports DOGE’s agency status.

         Finally on the question of DOGE’s agency status Defendants point to the DOGE teams

embedded within agencies and suggest it is those teams that are actually implementing the

President’s DOGE agenda. Ds’ Mem. in Opp. at 24. According to Defendants, because the

DOGE teams are agency employees their records are governed by the FRA, implying a

preservation order is unnecessary. Id. Here too, however, Defendants have offered no evidence

whatsoever about how those DOGE teams function, the specific tasks they perform, and at

whose direction. Absent that critical information this Court has no basis to conclude that an

order requiring the preservation of all DOGE records is unnecessary because all DOGE records

currently are being preserved as federal records under the FRA.

         V.    The Balance Of Hardships Favors The Requested Injunction.

         Finally, Defendants argue that “yet another Court order requiring the preservation of

the same records” that currently are subject to other preservation orders would cause them harm

that outweighs the public interest and would constitute “judicial overkill.” Ds’ Mem. Opp. at

25. But defendants ignore a key difference between the CREW and American Oversight cases

and this one: here Plaintiff seeks a preservation order covering all DOGE records, not merely

those responsive to specific FOIA requests. Thus, far from “judicial overkill,” the requested




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preservation order would fill in a critical gap.

         Defendants further argue they would be harmed by the requested injunction because

“an inadvertent loss of a single record could potentially subject USDS to sanctions[.]” Ds’

Mem. Op. at 23. This could be said about any preservation order, however. Moreover,

Defendants risk sanctions for the purposeful destruction of documents subject to a preservation

order but there is nothing to suggest they would be sanctioned for “an inadvertent loss.”

         In short, Defendants’ failure to offer any compelling reason for denying the requested

relief highlights why that relief is necessary.4

                                          CONCLUSION

         For the foregoing reasons and those set forth in Plaintiff’s opening brief, the Court

should grant Plaintiff’s motion for a preliminary injunction.

                                               Respectfully submitted,

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  Defendants further argue that the Court lacks jurisdiction to enjoin the President. Ds’ Mem. in
Opp. at 24-25. The Court need not resolve this issue in the context of the requested preliminary
injunction, which would not require the President himself to take any specific action.

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